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   1   SARA J. KING (Cal. State Bar No. 299115)
       PRO PER
   2   Email: sarakingproper@gmail.com
   3   P.O. Box 8114
       Rancho Santa Fe, California 92067
   4   Tel: (949) 220-3666

   5
   6   In Pro Per for Defendant SARA J. KING,

   7
   8                               UNITED STATES DISTRICT COURT

   9                CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

  10
  11    LDR INTERNATIONAL LIMITED, a                   Case No.: 8:23-CV-00257-DOC-JD(Ex)
        British Virgin Island corporation;
  12
                          Plaintiff,                 DEFENDANT SARA JACQUELINE KING’S ANSWER
  13                                                 AND DEFENSES TO PLAINTIFF’S COMPLAINT
               v.
  14                                                  [FILED CONCURRENTLY WITH:
        SARA JACQUELINE KING, an
  15    individual, and KING FAMILY LENDING           1) KING FAMILY LENDING LLC’S ANSWER TO
        LLC, a California limited liability              COMPLAINT; AND
  16    company;                                      2) CROSSCLAIM AGAINST KAMRAN ABBAS-
                                                         VAHID
  17                      Defendants.

  18                                                  Assigned For All Purposes:
                                                      Hon. David O. Carter
  19    SARA JACQUELINE KING, an
        individual, and KING FAMILY LENDING
  20    LLC;

  21                      Cross-Claimant,

  22           v.

  23    KAMRAN ABBAS-VAHID, an
        individual; and DOES 1 to 20, inclusive.
  24
                          Cross-Defendants.
  25
              Defendant Sara Jacqueline King (“KING”), in pro per hereby files her Answer and
  26
       Defenses to the Complaint filed by LDR International LDR (“Plaintiff”) as follows:
  27
  28
                                                       1
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   1
                                            PRELIMINARY STATEMENT
   2
               In answering the Complaint, KING states that she is responding to allegations on behalf of
   3
       herself only, even where the allegations pertain to alleged conduct by all Defendants. KING
   4
       denies any and all allegations in the headings and/or unnumbered paragraphs in the Complaint.
   5
   6
   7                DEFENDANT SARA JACQUELINE KING’S ANSWER AND DEFENSES TO
                                  PLAINTIFF’S COMPLAINT
   8

   9
                                                      THE PARTIES
  10
               In response to the specific allegations in the enumerated paragraphs in the Complaint,
  11
       KING responds as follows:
  12
               1.       KING is without knowledge or information sufficient to form a belief as to the
  13
       truth of the allegations in Paragraph 1.
  14
               2.       KING admits that she is an attorney licensed to practice law in the State of
  15
       California, State Bar Number 299115. KING is without knowledge or information sufficient to
  16
       form a belief as to the truth of the remaining allegations in Paragraph 2
  17
               3.       KING admits that she filed for a California limited liability company called King
  18
       Family Lending LLC on or about February 7, 2020, with its principal place of business in Orange
  19
       County, California. KING admits that she is the manager of King Family Lending LLC. KING is
  20
       without knowledge or information sufficient to form a belief as to the truth of the remaining
  21
       allegations in Paragraph 3.
  22
               4.       KING admits that she obtained a finance lender’s license by the DFPI under
  23
       license number 60-DBO-111951 effective November 17, 2020. KING is without knowledge or
  24
       sufficient information to form a belief as to the truth of the remaining allegations in Paragraph 4.
  25
               5.       KING denies the allegations in Paragraph 5 and Paragraph 5 subsections a, b, c, d,
  26
       e, f, g, h, and i.
  27
  28
       ANSWER TO COMPLAINT                                 2
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   1
                                        JURISDICTION AND VENUE
   2
              6.      To the extent Plaintiff has properly alleged the claims, KING admits that this
   3
       Court has jurisdiction as to KING. KING denies Plaintiff’s entitlement to any relief. KING is
   4
       without knowledge or information sufficient to form a belief as to the truth of the remaining
   5
       allegations in Paragraph 6.
   6
              7.      To the extent Plaintiff has properly alleged the claims, KING admits that this
   7
       venue is proper as to KING. KING denies Plaintiff’s entitlement to any relief.
   8

   9
                                     GENERAL FACTUAL ALLEGATIONS
  10
              8.      KING is without knowledge or information sufficient to form a belief as to the
  11
       truth of the allegations in Paragraph 8.
  12
              9.      KING is without knowledge or information sufficient to form a belief as to the
  13
       truth of the allegations in Paragraph 9.
  14
              10.     KING is without knowledge or information sufficient to form a belief as to the
  15
       truth of the allegations in Paragraph 10.
  16
              11.     KING is without knowledge or information sufficient to form a belief as to the
  17
       truth of the allegations in Paragraph 11.
  18
              12.     KING is without knowledge or information sufficient to form a belief as to the
  19
       truth of the allegations in Paragraph 12.
  20
              13.     KING is without knowledge or information sufficient to form a belief as to the
  21
       truth of the allegations in Paragraph 13.
  22
              14.     KING admits that any borrower documents sent to Plaintiff had borrower’s
  23
       identity redacted to protect identities of borrowers. KING is without knowledge or information
  24
       sufficient to form a belief as to the truth of the remaining allegations in Paragraph 14.
  25
              15.     KING is without knowledge or information sufficient to form a belief as to the
  26
       truth of the allegations in Paragraph 15.
  27
              16.     KING is without knowledge or information sufficient to form a belief as to the
  28
       ANSWER TO COMPLAINT                                3
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   1
       truth of the allegations in Paragraph 16.
   2
              17.     KING admits that she redacted borrowers’ identities to protect identities of
   3
       borrowers. KING is without knowledge or information sufficient to form a belief as to the truth of
   4
       the allegations in remaining allegations in Paragraph 17.
   5
              18.     KING is without knowledge or information sufficient to form a belief as to the
   6
       truth of the allegations in Paragraph 18.
   7
              19.     KING denies misrepresentation to Plaintiff regarding the status of her lending
   8
       license. KING is without knowledge or information sufficient to form a belief as to the truth of
   9
       the remaining allegations in Paragraph 19.
  10
              20.     KING is without knowledge or information sufficient to form a belief as to the
  11
       truth of the allegations in Paragraph 20.
  12
              21.     KING denies that there were no third-party borrowers or loans to third-parties.
  13
       KING is without knowledge or information sufficient form a belief as to the truth of the
  14
       remaining allegations in Paragraph 21.
  15
              22.     KING denies the allegations in Paragraph 22.
  16
              23.     KING denies the allegations in Paragraph 23.
  17
              24.     KING denies the allegations in Paragraph 24.
  18
              25.     KING is without knowledge or information sufficient to form a belief as to the
  19
       truth of the allegations in Paragraph 25.
  20
              26.     KING denies the allegations in allegations in Paragraph 26.
  21
  22                                     FIRST CAUSE OF ACTION
                                            (Breach of Contract)
  23
  24          27.     KING reasserts and re-alleges her responses and defenses as set forth above in
  25   Paragraphs 1 through 26.
  26          28.     KING is without knowledge or information sufficient to form a belief as to the
  27   truth of the allegations in Paragraph 27.
  28
       ANSWER TO COMPLAINT                               4
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   1
              29.     KING is without knowledge or information sufficient to form a belief as to the
   2
       truth of the allegations in Paragraph 28.
   3
              30.     KING is without knowledge or information sufficient to form a belief as to the
   4
       truth of the allegations in Paragraph 29.
   5
              31.     KING is without knowledge or information sufficient to form a belief as to the
   6
       truth of the allegations in Paragraph 30.
   7
              32.     KING is without knowledge or information sufficient to form a belief as to the
   8
       truth of the allegations in Paragraph 31.
   9
              33.     KING is without knowledge or information sufficient to form a belief as to the
  10
       truth of the allegations in Paragraph 32.
  11
              34.     KING is without knowledge or information sufficient to form a belief as to the
  12
       truth of the allegations in Paragraph 33.
  13
              35.     KING is without knowledge or information sufficient to form a belief as to the
  14
       truth of the allegations in Paragraph 34.
  15
              36.     KING is without knowledge or information sufficient to form a belief as to the
  16
       truth of the allegations in Paragraph 35.
  17
  18                                    SECOND CAUSE OF ACTION
                                                (Fraud)
  19
              37.     KING reasserts and re-alleges her responses and defenses as set forth above in
  20
       Paragraphs 1-36.
  21
              38.     KING is without knowledge or information sufficient to form a belief as to the
  22
       truth of the allegations in Paragraph 36.
  23
              39.     KING denies making false representations to Plaintiff. KING is without
  24
       knowledge or information sufficient to form a belief as to the truth of the remaining allegations in
  25
       Paragraph 37, and including Paragraph 37 subparagraphs A, B, C, D, E, F, G, H, I, J, K, L, M, N,
  26
       O, P, Q, R, S, and T.
  27
              40.     KING is without knowledge or information sufficient to form a belief as to the
  28
       ANSWER TO COMPLAINT                               5
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   1
       truth of the allegations in Paragraph 38.
   2
              41.     KING is without knowledge or information sufficient to form a belief as to the
   3
       truth of the allegations in Paragraph 39.
   4
              42.     KING is without knowledge or information sufficient to form a belief as to the
   5
       truth of the allegations in Paragraph 40.
   6
              43.     KING is without knowledge or information sufficient to form a belief as to the
   7
       truth of the allegations in Paragraph 41.
   8
              44.     KING is without knowledge or information sufficient to form a belief as to the
   9
       truth of the allegations in Paragraph 42.
  10
              45.     KING is without knowledge or information sufficient to form a belief as to the
  11
       truth of the allegations in Paragraph 43.
  12
              46.     KING denies she acted willfully, maliciously and with the intent to cause injury
  13
       and harm to Plaintiff. KING is without knowledge or information sufficient to form a belief as to
  14
       the truth of the remaining allegations in Paragraph 44.
  15
              47.     KING is without knowledge or information sufficient to form a belief as to the
  16
       truth of the allegations in Paragraph 45.
  17
              48.     KING is without knowledge or information sufficient to form a belief as to the
  18
       truth of the allegations in Paragraph 46.
  19
  20                                    THIRD CAUSE OF ACTION
                                  (Civil Theft, Cal. Penal Code Section 496)
  21
              49.     KING reasserts and re-alleges its responses and defenses as set forth above in
  22
       Paragraphs 1-48.
  23
              50.     KING is without knowledge or information sufficient to form a belief as to the
  24
       truth of the allegations in Paragraph 47.
  25
              51.     KING is without knowledge or information sufficient to form a belief as to the
  26
       truth of the allegations in Paragraph 48.
  27
              52.     KING is without knowledge or information sufficient to form a belief as to the
  28
       ANSWER TO COMPLAINT                               6
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   1
       truth of the allegations in Paragraph 49.
   2
              53.     KING is without knowledge or information sufficient to form a belief as to the
   3
       truth of the allegations in Paragraph 50.
   4
              54.     KING is without knowledge or information sufficient to form a belief as to the
   5
       truth of the allegations in Paragraph 51.
   6
              55.     KING is without knowledge or information sufficient to form a belief as to the
   7
       truth of the allegations in Paragraph 52.
   8
              56.     KING is without knowledge or information sufficient to form a belief as to the
   9
       truth of the allegations in Paragraph 53.
  10
              57.     KING is without knowledge or information sufficient to form a belief as to the
  11
       truth of the allegations in Paragraph 54.
  12
  13                                   FOURTH CAUSE OF ACTION
                                            (Account Stated)
  14
              58.     KING reasserts and re-alleges its responses and defenses as set forth above in
  15
       Paragraphs 1-57.
  16
              59.     KING is without knowledge or information sufficient to form a belief as to the
  17
       truth of the allegations in Paragraph 55.
  18
              60.     KING is without knowledge or information sufficient to form a belief as to the
  19
       truth of the allegations in Paragraph 56.
  20
              61.     KING is without knowledge or information sufficient to form a belief as to the
  21
       truth of the allegations in Paragraph 57.
  22
              62.     KING is without knowledge or information sufficient to form a belief as to the
  23
       truth of the allegations in Paragraph 58.
  24
              63.     KING is without knowledge or information sufficient to form a belief as to the
  25
       truth of the allegations in Paragraph 59.
  26
              64.     KING is without knowledge or information sufficient to form a belief as to the
  27
       truth of the allegations in Paragraph 60.
  28
       ANSWER TO COMPLAINT                              7
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   1
   2
                                    RESPONSE TO PRAYER FOR RELIEF
   3
   4
              65.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 1.
   5
              66.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 2.
   6
              67.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 3.
   7
              68.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 4.
   8
              69.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 5.
   9
              70.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 6.
  10
              71.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 7.
  11
              72.     KING denies that the Plaintiff is entitled to the relief numerated in Paragraph 8.
  12
  13
                                  RESPONSE TO DEMAND FOR JURY TRIAL
  14
              KING admits that the Plaintiff has demanded a trial by jury on all issues so triable. Any
  15
       allegation in Plaintiff’s Complaint not heretofore specifically responded to is hereby denied.
  16
  17
                                               FIRST DEFENSE
  18
              Plaintiff’s Complaint fails to state a claim against KING upon which relief can be granted.
  19
  20
                                              SECOND DEFENSE
  21
              KING asserts that it acted in good faith without intent to harm Plaintiff.
  22
  23
                                               THIRD DEFENSE
  24
              At all relevant times herein, the Plaintiff’s alleged damages, which KING denies exist,
  25
       were aggravated by the failure of the Plaintiff to use reasonable diligence to mitigate the same.
  26
       Therefore, Plaintiff’s recovery, if any, should be barred or decreased by reason of its failure to
  27
       mitigate alleged losses.
  28
       ANSWER TO COMPLAINT                                8
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   1
   2
                                              FOURTH DEFENSE
   3
               Plaintiff’s damages, if any, were not caused by KING, but by another person or entity for
   4
       whom or for which KING is not responsible.
   5
   6
                                                 FIFTH DEFENSE
   7
               King asserts that there is no contractual relationship or agreement between Plaintiff and
   8
       KING.
   9
  10
                                                 SIXTH DEFENSE
  11
               KING asserts that Plaintiff has through representations or actions waived its right to sue,
  12
       and therefore cannot sustain this action.
  13
  14
                                             SEVENTH DEFENSE
  15
               KING asserts that Plaintiff has committed a wrongdoing, and this lawsuit is attempting to
  16
       benefit from this wrongdoing.
  17
  18
                                              EIGHTH DEFENSE
  19
               KING asserts that Plaintiff obtained KING’s cooperation for any and all transactions
  20
       through misrepresentation by Plaintiff.
  21
  22
                                                 NINTH DEFENSE
  23
               Plaintiff cannot meet the requirements of Cal. Pen. Code § 496 and therefore not entitled
  24
       to punitive or statutory damages.
  25
                                           RESERVATION OF DEFENSES
  26
                      KING hereby reserves the right to amend her defenses to Plaintiff’s Complaint,
  27
       including, but not limited to, those defenses specifically set forth in Federal Rule of Civil
  28
       ANSWER TO COMPLAINT                                9
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   1
       Procedure 8(c), and as otherwise permitted by law if investigation discovery, and further
   2
       information should warrant such amendment. KING further reserves the right to request leave to
   3
       join other parties as necessary.
   4

   5
              WHEREFORE, having fully answered or otherwise responded to the allegations in
   6
       Plaintiff’s complaint, KING prays that:
   7
   8
              (1)     Plaintiff’s Complaint be dismissed in its entirety with prejudice, with all costs
   9
       taxed against Plaintiff;
  10
              (2)     KING be dismissed as a party to this action;
  11
              (3)     KING recover such other and additional relief as the Court deems just and
  12
       appropriate.
  13
  14
              Respectfully submitted March 28, 2023.
  15
  16
  17
              DATED: March, 28, 2023                 SARA JACQUELINE KING
  18
  19
                                                      / s / Sara J. King
                                                     _________________________________
  20                                                 Sara Jacqueline King
                                                     In Pro Per
  21
  22
  23
  24
  25
  26
  27
  28
       ANSWER TO COMPLAINT                               10
